      Case: 3:19-cv-00133-NBB-RP Doc #: 30 Filed: 09/24/19 1 of 10 PageID #: 526



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF
                           MISSISSIPPI, OXFORD DIVISION

CLAUDIA LINARES, et al                                                              PLAINTIFFS

vs.                                                                     NO. 3:19cv133-NBB-RP

CITY OF SOUTHAVEN, et al                                                         DEFENDANTS

  REPLY OF ZACHARY DURDEN TO PLAINTIFFS’ RESPONSE TO MOTION TO
 DISMISS BASED ON STANDING AND/OR ABSENCE OF JURISDICTION, AND /OR,
     IN THE ALTERNATIVE, DISMISSAL BASED ON SOVEREIGN IMMUNITY

                                         I. Claims

       The Motions of Defendant Durden and Defendant City of Southaven address many of the

same issues with supporting citations but not all issues appear in both Briefs. The separate

Motions with separate Briefs are similar but not duplicates of each other. This Reply of

Defendant Zachary Durden points out differences in the Motions or Briefs of Defendant Durden

and Defendant City and this Reply and the Reply of Defendant City of Southaven as needed.

Defendant Durden adopts in support of his Motion and as part of this Reply all arguments in the

separate Reply of Defendant Southaven but does not duplicate those arguments in this document

other than by reference in order to cohesively present argument and authority to the Court.

       Plaintiffs Complaint contains federal civil rights claims alleged under the Fourth

Amendment of the “Constitution of the United States” pursuant to 42 U.S.C. § 1983 due to

“unlawful seizure” and “excessive force” characterized as a due process “liberty” deprivation of

Ismael Lopez under the Fourteenth Amendment based on the same use of force. Docket # 1

¶¶54-55, 59-61. Absent from the Complaint is reference to the Due Process clause of other

Constitutional Amendments such as the Fifth Amendment. Absent from the Complaint is any



                                           Page 1 of 10
     Case: 3:19-cv-00133-NBB-RP Doc #: 30 Filed: 09/24/19 2 of 10 PageID #: 527



assertion under the Fourteenth Amendment other than under the Fourteenth Amendment’s Due

Process clause. All of the federal legal authority cited by Plaintiffs in the Response relates to the

Due Process clause of the Fifth Amendment or to the Equal Protection Clause of the Fourteenth

Amendment. Plaintiffs’ controverted one fact in Response that Plaintiff Linares was married to

decedent Lopez. This fact is not material to determination of Article III constitutional standing on

the alleged federal civil rights.

        Plaintiffs’ remained silent in response as to In re McCoy, 666 F. 3d 924, 926 (5th Cir.

2012), Causey v. Sewell Cadillac-Chevrolet, Inc., 394 F. 3d 285, 288 (5th Cir. 2004) (citing

Collins v. Morgan Stanley Dean Witter, 224 F. 3d 496, 498-99 (5th Cir. 2000) and R2 Invs. LDC

v. Phillips, 401 F.3d 638, 640 n. 2 (5th Cir. 2005) allowing judicial notice under of certain types

of records.

        Plaintiff Linares asserted a constitutional civil rights claim based on familial association

with Ismael Lopez arising under the “Fourteenth Amendment to the United States Constitution”

due to the same use of force as to Ismael Lopez. Docket # 1 ¶ 94. Legal marriage matters for

such a claim but only if Ismael Lopez had federal civil rights relative to the use of force. He did

not. The description of the Claudia Linares relationship with Ismael Lopez was made in legal

terms as related to the relationships of a recognized marriage in Mississippi or as related to an

unrecognized marriage. The descriptions are the same type of legal descriptions necessary to

describe the relationship of Claudia Linares and Reymundo Avendano Tolentino. Tolentino is

reflected on the produced and unchallenged birth certificate of her son Rodolfo as Rodolfo’s

father. The birth certificate directly conflicts with a sworn statement of Plaintiff Linares who

swore in the Estate file that Ismael Lopez was the father of her son Rodolfo. Whether or not

Linares was married to Reymundo Avendano Tolentino at the time of Rudolfo’s birth, or


                                            Page 2 of 10
     Case: 3:19-cv-00133-NBB-RP Doc #: 30 Filed: 09/24/19 3 of 10 PageID #: 528



divorced from him by that time or subsequently, or widowed since Rodolfo’s inception are

necessary to determine the legal relationships material to statutory standing. Credibility and

legality of relationships in the context of this case are relevant and so the discussion of the

marital relationships or lack of same legally of Claudia Linares are not remotely sanctionable. In

response, after full opportunity, Plaintiff Linares offered no affidavits to support the fact

arguments of her counsel.

       Plaintiffs did not respond to the Motion assertion that the Fourteenth Amendment claim

should be assessed only under the Fourth Amendment as due process use of force claims are

included in‘‘all claims that law enforcement officers have used excessive force-deadly or not-in

the course of an arrest, investigatory stop, or other ‘seizure’ ... [which] should be analyzed under

the Fourth Amendment and its ‘reasonableness’ standard, rather than under a ‘substantive due

process‘ approach.” Graham v. Conner, 490 U. S. 386, *395, 109 S. Ct. 1865, 104 L. Ed. 2d 443

(1989). Plaintiffs did not comment on Martinez-Aguero v. Gonzalez, 459 F. 3d 618, 624 (5th Cir.

2006), Mendez v. Poitevent, 2014 WL 12639318, *12 (W.D. Tex. Sept. 30, 2014) or Tennessee v.

Garner, 471 U.S. 1, 105 S. Ct. 1694, 85 L. Ed. 2d 1 (1985)) cited by Defendants in support of

this issue. Plaintiffs’ failure to respond waived all objections to this application of law.

       The Exhibits were controverted by Plaintiffs on how they should be used under Rule 56

and/or Rule 12 but not otherwise. Motion Exhibits 1 and 3 established that at the time of his

death Ismael Lopez was a citizen of Mexico and illegally present in the United States, was a

convicted felon, that he was a fugitive from justice, had been adjudicated as excludable, and he

was in violation of multiple prior court orders of deportation. Deportation and exclusion are

explained in detail in Landon v. Plasencia, 459 U.S. 21, 103 S. Ct. 321, 74 L. Ed. 2d 21, *25

(1982). See last two pages of Exhibit 1 affirmation from the Mexican Consul that Ismael Lopez


                                            Page 3 of 10
     Case: 3:19-cv-00133-NBB-RP Doc #: 30 Filed: 09/24/19 4 of 10 PageID #: 529



was a Mexican citizen. Exhibit 2 and 5 established the birth certificate of Plaintiff Linares’ son

named Rodolfo and Rodolfo’s father as Reymundo Avendano Tolentino and that Plaintiff Linares

swore conflicting statements on Rodolfo’s paternity to government authorities. Plaintiff Linares

elected no affidavit to refute or explain her conflicting sworn statements.

                                           2. Standard

        Plaintiffs’ assertion of the standard is error. The Motion was brought under Rule 12(b)(1) or

12(b)(6). Plaintiffs made no response to Rule 12(b)(1) and no comment on the supporting authority

of Ramming v. U. S., 281 F. 3d 158, 161 (5th Cir. 2001), Gunter v. Bryant, 2018 WL 3650244, *1 (N.

D. Miss. Aug. 1, 2018), Crane v. Johnson, 783 F. 3d 244, (¶¶ 3-6) (5th Cir. 2015), or Campaign for

Southern Equality v. Mississippi Department of Human Services, 175 F. Supp. 3d 691, *698 (¶¶1-3)

(S.D. Miss 2016). Rule 12(b)(1) allows assessment based on a facial attack or on a factual attack.

Either facial or factual Rule 12(b)(1) Motions also attack subject matter jurisdiction as Defendants

have done in this case. Factual attacks challenge “the existence of subject matter jurisdiction in fact,

irrespective of the pleadings. When the challenge is a factual attack ‘no presumptive truthfulness

attaches to plaintiff’s allegations, and the existence of disputed material facts will not preclude the

trial court from evaluating for itself the merits of jurisdictional claims.’” Mid-South Tax Credit

Partners I, et al., v. Clatus Junkin, 2019 WL 4277365, *2 (N.D. Al. Sept. 10, 2019)(quoting

Williamson v. Tucker, 645 F. 2d 404, 412 (5th Cir. 1981)).

        Plaintiffs incorrectly assert that the Motion must be treated as a Rule 56 Motion if matters

outside the pleadings are considered by the Court citing Williamson v. Tucker, 645 F. 2d 404 (5th Cir.

1981). Williamson applied a version of Rule 12 that was then accurate but subsequently amended to

remove the very language that Plaintiffs cite as now mandating a Rule 12(b)(6) Motion be converted

into a Rule 56 Motion if evidence is relied upon for the Rule 12(b)(6) assessment. See current Rule


                                             Page 4 of 10
     Case: 3:19-cv-00133-NBB-RP Doc #: 30 Filed: 09/24/19 5 of 10 PageID #: 530



12(b)(d) limiting Rule 56 conversion under specific circumstances to motions under Rule 12(b)(6)

or ( c ) but excluding Rule 12(b)(1). See judicial recognition of Rule amendment different from the

implementation in Williamson in Alabama Education Association v. Bentley, 2012 WL 12904393,

*42 fn.87 (N. D. Al. Aug. 22, 2012). Williamson v. Tucker, 645 F. 2d 404 (5th Cir. 1981) is valid on

some issues such as the discretion of the Court when ruling on a Rule 12(b)(1) motion on evidence

and papers submitted by the parties. Flores v. Pompeo, 2019 WL 4022162, *4 fn. 3 (5th Cir. 2019).

        In response Plaintiffs abdicate their burden of establishing standing by demonstrating they

have suffered “an invasion of a legally protected interest.” Raines v. Byrd, 521 U.S. 811, 818- 819,

117 S. Ct. 2312, 138 L. Ed. 2d 849 (1997). This refers to the absence of federal civil rights as alleged

in the Complaint of Ismael Lopez based on his now undisputed illegal alien status and/or felon status

and /or in tandem with the absence of significant appropriate contacts by Ismael Lopez with the

United States. F.R.Civ.P.12(b)(1) governs challenges to a court’s subject-matter jurisdiction. “A case

is properly dismissed for lack of subject-matter jurisdiction when the court lacks the statutory or

constitutional power to adjudicate the case.” Wills v. Berryhill, 2019 WL 3953977, *2 (N.D. Miss.

July 26, 2019)(quoting Home Builders Ass’n of Miss., Inc. v. City of Madison, 143 F. 3d 1006, 1010

(5th Cir. 1988)).

        When faced with a Rule 12(b))(1) fact based attack on standing Plaintiffs elected not to

submit any form of document disputing the documents filed in support of the Motion on illegal

presence of Lopez in the United States. Plaintiffs made no fact allegation of legal presence in the

United States in Complaint or in the response of Ismael Lopez or Claudia Linares. No document such

as visa, work permit, border crossing pass, immigration record, naturalization or asylum petition was

produced or even alleged as existing. Absence of standing was asserted for all state law claims based

on multiple legal issues that Plaintiff just skipped over in response.


                                             Page 5 of 10
     Case: 3:19-cv-00133-NBB-RP Doc #: 30 Filed: 09/24/19 6 of 10 PageID #: 531



        Plaintiffs’ did not respond to the legal authority of Cole v. General Motors Corp., 484 F. 3d

717, 721 (5th Cir. 2007), Sommers Drug Stores Co. Emp. Profit Sharing Trust v. Corrigan, 883 F.

2d 345, 348 (5th Cir. 1989), or Clay v. Garth, 2012 WL 4470289 (N.D. Miss. Sept. 27, 2012)(citing

Warth v. Seldin, 422 U.S. 490, 500 (1975)). Plaintiffs’ seem to have conflated Rule 12(b)(1) with

12(b)(6) and skipped consideration that standing is a “threshold matter of jurisdiction.”

        Plaintiffs also skipped response to the jurisdiction assertions cited for Bond v. United States,

564 U.S. 211, 217, 131 S. Ct. 2355, 180 L. Ed. 2d 269 (2011), Crane v. Johnson, 783 F. 3d 244 (5th

Cir. 2015), Choice Inc. v. Greenstein, 691 F. 3d 710, 714(5th Cir. 2012), Osterweil v. Edmonson,

424 Fed. Appx. 342, 343 (5th Cir. 2011)(per curiam)(citing United States v. Hays, 515 U.S. 737, 743,

115 S. Ct. 2431, 132 L. Ed. 2d 635 (1995)).

        Plaintiffs did not respond to the lack of standing on the pleading deficiency aspect relative

to injunctive or declaratory relief claimed in the prayer for relief due to their failure to allege they

“sustained or [are] immediately in danger of sustaining some direct injury as the result of the

challenged official conduct and the injury or threat of injury [as] both “real and immediate” and not

“conjectural” or “hypothetical.” Clay v. Garth, 2012 WL 4470289 (N.D. Miss. Sept. 27, 2012)(citing

City of Los Angeles v. Lyons, 461 U. S. 95, 101-102,(1983)). Irreparable injury was not claimed in

the Complaint or response. Clay v. Garth at *2; Lujan v. Defenders of Wildlife, 504 U.S. 555, 560,

112 S. Ct. 2130, 119 L. Ed. 2d 351(1992);City of Los Angeles v. Lyons, 461 U.S. 95, 103 S. Ct. 1660,

75 L. Ed. 2d 675 (1983).There is no allegation from which it appears there is a substantial likelihood

that Plaintiffs will suffer injury in the future. Id at 102.

                            3. No Standing for Federal or State Law claims

        “A dismissal for lack of standing is akin to a dismissal for lack of subject-matter jurisdiction

under Federal Rule of Civil Procedure 12(b)(1).” Worthy v. City of Phenix City, Alabama, 930 F. 3d


                                              Page 6 of 10
     Case: 3:19-cv-00133-NBB-RP Doc #: 30 Filed: 09/24/19 7 of 10 PageID #: 532



1206, *1213 (11th Cir. 2019). “To bring suit in federal court, a party must have constitutional

standing, which is ‘an essential and unchanging part of the case-or-controversy requirement of

Article III.’ Lujan v. Defs. of Wildlife, 504 U.S. 555, 560, 112 S. Ct. 2130, 119 L.Ed. 2d 351(1992).”

Id. There must be an invasion of a legally protected interest. Id.

        A marriage record for Claudia Linares and Ismael Lopez was produced. There was no record

produced by Plaintiffs regarding citizenship status of Claudia Linares or Ismael Lopez to dispute the

citizenship status supported by the Motion Exhibits. Both the Complaint and response are silent on

illegal or legal presence in the United States of Plaintiff Linares or Ismael Lopez. The validity of the

status of legal marriage by Plaintiff Linares to Ismael Lopez is a disputed fact which fact relates to

statutory standing. That is not material on the illegal alien status of Ismael Lopez.

        Plaintiff Linares’ claims as a wrongful death beneficiary and the claims of Plaintiff Autry are

all derivative from the civil rights that Ismael Lopez had or did not have as a matter of law. Plaintiffs’

response creates one disputed fact. That fact is not material to the existence of constitutional standing

as relates to the existence of federal civil rights asserted in the Complaint.

            A. ISMAEL LOPEZ HAD NO FEDERAL CIVIL RIGHTS AS ALLEGED

        This aspect of this reply in rebuttal is adopted by reference to the Reply of Defendant City.

                                           B. Estate Issues

        The wrongful death statute created a new and independent cause of action unknown to

common law. Estate of Jones v. Howell, 687 So. 2d 1171 (Miss. 1996; Kirkpatrick v. Ferguson-

Palmer Co.,77 So. 803 (Miss.1918).When the same wrongful conduct causes both personal injury

and death, at the instant of death, the recovery for the personal injury is embraced by the “one suit”

for wrongful death and is not actionable by the estate under the survival statute. In re Estate of

England, 846 So. 2d 1060 (Miss. 2003). In accord Harpster ex rel. Salez v.Thomas,442 F. Supp. 2d


                                             Page 7 of 10
     Case: 3:19-cv-00133-NBB-RP Doc #: 30 Filed: 09/24/19 8 of 10 PageID #: 533



349 (S. D. Miss. July 3, 2006).

        Miss. Code Ann. § 11-7-13 provides “when the death of any person ...shall be caused by any

real, wrongful, or negligent act or omission,...if death had not ensued, have entitled the injured party

...to maintain an action and recover damages in respect thereof.” Plaintiff Autry sued as “an action

for such damages may be brought in the name of the personal representatives of such person.”

Plaintiff Linares sues as a claimed widow. No valid action can be maintained as Ismael Lopez had

no federal civil rights for Plaintiffs to sue on as were alleged in the Complaint and Plaintiffs’

available remedies under state law were lost due to Plaintiffs’ failure to give the mandated presuit

tort notice and due to the expiration of the one year statutes of limitations.

       Plaintiffs insist that all issues of estate matters must be administered by the state court.

Credibility of any witness is always relevant. Plaintiffs incorrectly describe the probate exception.

“The probate exception reserves to state probate courts the probate or annulment of a will and the

administration of a decedent’s estate...But it does not bar federal courts from adjudicating matters

outside those confines.” Marshall v. Marshall, 547 U.S. 293,*312, 126 S. Ct. 1735, 164 L. Ed. 2d

480(2006). Claimant “Vickie” in Marshall “seeks an in personam judgment against Pierce, not the

probate or annulment of a will.” Id.

                                       5. State Law Claims

       The state law claims are asserted in the Complaint at paragraphs 96-100 under the title of

“Common Law Claims” characterized as “Wrongful Death” and as “Mississippi statutory and case

law.” Plaintiffs’ response omits any reference to the distinctive state law on individual immunities

made by Defendant Durden at docket #20 pages ID #471-473. Plaintiffs’ sole response to both

Motions was “Plaintiffs make no state law claims pursuant to the Mississippi Tort Claims Act in their

Complaint.” Docket #24 page ID# 492. Plaintiffs abandon all state law claims. Defendant Durden


                                            Page 8 of 10
     Case: 3:19-cv-00133-NBB-RP Doc #: 30 Filed: 09/24/19 9 of 10 PageID #: 534



has personal immunity as a matter of law to all claims in paragraphs 96-100 of the Complaint.

       The law of the State of Mississippi controls all claims alleged in the Complaint at paragraphs

96-100. Those claims could have been pursued only under the Mississippi Tort Claims Act (MTCA).

See Carter v. Mississippi Dept. of Corrections, 860 So. 2d 1187 (Miss. 2003) wherein Plaintiff Ruby

Carter filed suit individually as a wrongful death beneficiary, on behalf of the wrongful death heirs,

and on behalf of the Estate of Stacie Carter against the Mississippi Department of Corrections and

Fred Childs as an individual Defendant due to the death of Stacie Carter as an inmate in MDOC

custody. The trial court granted dismissal in favor of all Defendants applying Miss. Code Ann. § 11-

46-9(1)(m). The Mississippi Supreme Court affirmed holding at ¶ 11 that “The MTCA provides the

exclusive remedy against a governmental entity or its employee for tortious acts or omission which

give rise to a suit.” On appeal Carter argued that the “the wrongful death claims of the wrongful

death survivors are distinct torts from the personal injury claims of “the decedent Stacie Carter.”

The Court held that “a wrongful death claim is a derivative action by the beneficiaries, and those

beneficiaries, therefore, stand in the position of their decedent”citing Wickline v. U.S. Fid. & Guar.

Co., 530 So. 2d 708, 715 (Miss. 1988). The Court affirmed that all claims were barred by the

MTCA. Carter at ¶ 25. All state law claims are barred by the one year statutes of limitation or by

Plaintiffs’ failure to give the mandatory presuit tort notice. Dismissal with prejudice of all claims

asserted in paragraphs 96-100 of the Complaint on the merits is mandated for all Defendants.

                                          6. Conclusion

     All claims should be dismissed due to lack of jurisdiction or as barred as a matter of law.

                  Respectfully submitted, this the 24th day of September, 2019.

                                               /s/ Katherine S. Kerby
                                               Katherine S. Kerby, MSB # 3584
                                               Attorney for Defendants

                                            Page 9 of 10
    Case: 3:19-cv-00133-NBB-RP Doc #: 30 Filed: 09/24/19 10 of 10 PageID #: 535




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                                 CERTIFICATE OF SERVICE

        I hereby certify that I electronically filed the foregoing with the Clerk of the Court using the ECF

system which sent notification of such filing to all Counsel of record including Michael Carr, Esq., Murray

B. Wells, Esq., and Aaron A. Neglia, Esq.




                SO CERTIFIED, this the 24th day of September, 2019

                                                          s/ Katherine S. Kerby
                                                          KATHERINE S. KERBY




                                             Page 10 of 10
